




 










&nbsp;

IN THE

TENTH COURT OF APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-06-00230-CV

&nbsp;

In re
Dennis Hair

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The petition for writ of mandamus is
denied.

&nbsp;

PER CURIAM

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

Petition denied

Opinion delivered and
filed August 9, 2006

[OT06]





